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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

SECURITIES AND EXCHANGE                   No: 3:18-cv-252
COMMISSION,
                                          Carlton W. Reeves, District Judge
          Plaintiffs,                     F. Keith Ball, Magistrate Judge

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

          Defendants.




                          RECEIVER’S REPORT

                              August 25, 2020




                                         /s/ Alysson Mills
                                  Alysson Mills, Miss. Bar No. 102861
                                  Fishman Haygood, LLP
                                  201 St. Charles Avenue, Suite 4600
                                  New Orleans, Louisiana 70170
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                                  Receiver for Arthur Lamar Adams and
                                  Madison Timber Properties, LLC
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Introduction

         For many years Arthur Lamar Adams, through his companies Madison Timber Company,
Inc. and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

         On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties. Among other things,
the order instructs me to take any action necessary and appropriate to preserve the assets of Adams
and his businesses, to maximize funds available for distributions to victims. I have undertaken
these tasks with substantial assistance from my counsel, including principally Brent Barriere and
Lilli Bass.

         The Court instructed me to file a report of my progress every 60 days. I filed my last report
on August 25, 2020, and this report picks up where that report left off. It contains the following
parts:

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                   Highlights                                                  3
                   Criminal cases’ status                                      4
                   Civil cases’ status                                         4
                   Receiver’s actions (past 60 days and next 60 days)          9
                   Summary of status of assets                                13


         As always, my reports are for the Court’s benefit, but I write them for a broader audience,
knowing that they may be read by non-lawyers including victims.




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Highlights

        These reports can be cumbersome and repetitive. At the suggestion of one reader, I have
attempted to summarize this report’s highlights for those who have neither the time nor desire to
read it in its entirety. In no particular order:

        •    Oral argument in Butler Snow’s appeal was July 2, 2020, and a link to a recording is
             available at madisontimberreceiver.com.

        •    On July 30, 2020, I announced a proposed settlement of the Receivership Estate’s
             claims against Brad Pugh for the return of the $183,002.66 in “commissions” that he
             received in exchange for his sales of Madison Timber investments. The Court
             approved the settlement on August 3, 2020.

        •    I continue to fight any bankruptcy discharge of Bill McHenry’s or Jon Seawright’s
             debts to the Receivership Estate. On August 14, 2020, the bankruptcy court held
             McHenry in contempt for failing to disclose documents pertaining to his finances that
             I requested of him.

        •    I continue to market nationally the largest of Oxford Springs’s two tracts. That listing
             is available at https://www.outdoorproperties.com/listings/oxford-springs/.

        •    I have spoken with several victims who are hurting badly right now. The
             Receivership Estate has more than $6.5 million in its account, and I have no interest
             in holding onto that money. My only reason for not distributing it is I would like to
             have more to distribute, because the money we currently have will not go far. I am
             eager to sell Oxford Springs or resolve one of the Receivership Estate’s larger
             lawsuits, which may allow for a more meaningful distribution. I am sympathetic to
             victims’ impatience and am open to the possibility of an interim distribution, however
             small, if things do not pick up soon.




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Criminal cases’ status

           United States v. Adams, No. 3:18-cr-88

           Lamar Adams is serving a 19.5-year sentence in federal prison. On June 15, 2020, victims
received a notice stating that Adams has asked for compassionate release. After inviting input
from victims, the U.S. Attorney’s Office filed a response to Adams’s motion. The notice, motion,
and related filings are available at madisontimberreceiver.com.


           United States v. McHenry, No. 3:19-cr-20

           Bill McHenry was acquitted on December 5, 2019.

           After Adams, McHenry is the only person to have been charged in connection with the
Madison Timber Ponzi scheme. I am hopeful that criminal authorities are not finished with their
work. Victims are right to expect that criminal authorities will pursue justice in this case.


Civil cases’ status

           Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-252

           The Securities and Exchange Commission’s case against Adams and Madison Timber,
filed April 20, 2018, remains open for the purpose of administering the Receivership Estate’s
affairs.

           On July 30, 2020, I filed a motion that asked the Court to approve a proposed settlement
of the Receivership Estate’s claims against Brad Pugh for the return of the $183,002.66 in
“commissions” that he received in exchange for his sales of Madison Timber investments. On
August 3, 2020, the Court entered an order approving settlement.


           Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679
           Related: In re William B. McHenry, Jr., No. 20-bk-268; No. 20-ap-22

           The complaint against Mike Billings, Wayne Kelly, and Bill McHenry, filed October 1,
2018, alleged they received millions of dollars in “commissions” in exchange for their recruitment


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of new investors to Madison Timber. Wayne Kelly and Mike Billings settled with the Receivership
Estate. I obtained a final judgment against Bill McHenry in the amount of $3,473,320.1

         McHenry has not paid the judgment. To avoid a judgment debtor examination, on January
27, 2020, he filed a Chapter 7 petition for bankruptcy.2 By filing his petition for bankruptcy, he
triggered an automatic stay of litigation against him. The result is that I cannot collect the
$3,473,320 judgment against McHenry while his bankruptcy proceedings are pending.

         I have participated in McHenry’s bankruptcy proceedings in order to protect the
Receivership Estate’s interests. On April 23, 2020, I filed an adversary complaint that objects to
the discharge of McHenry’s debt to the Receivership Estate on the basis, among others, that the
debt flows from his false pretenses, false representations, and fraud.3 On August 14, 2020, the
bankruptcy court held McHenry in contempt for failing to disclose documents pertaining to his
finances that I requested of him.


         Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866
         Related: In re Jon Darrell Seawright, No. 19-bk-3921; No. 20-ap-11; No. 20-cv-232

         The complaint against Butler Snow LLP; Butler Snow Advisory Services, LLC; Matt
Thornton; Baker, Donelson, Bearman, Caldwell & Berkowitz, PC; Alexander Seawright, LLC;
Brent Alexander; and Jon Seawright, originally filed December 19, 2018, alleges the law firms
and their agents lent their influence, their professional expertise, and even their clients to Adams
and Madison Timber. None of the defendants has settled with the Receivership Estate. On
November 22, 2019, I filed an amended complaint.

         Butler Snow: The Butler Snow defendants filed a motion to dismiss in which they argued
that the case against them should be submitted to private arbitration. After the Court denied Butler
Snow’s motion to dismiss,4 Butler Snow appealed to the Fifth Circuit. The parties’ filings in that




1
  Docs. 62, 63, Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679 (S.D. Miss).
2
  Doc. 1, In re: William Byrd McHenry, Jr., No. 20-bk-268 (Bankr. S.D. Miss).
3
  Doc. 1, Alysson Mills v. William Byrd McHenry, Jr., No. 20-ap-22 (Bankr. S.D. Miss).
4
  Doc. 48, Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866 (S.D. Miss).
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court are available at madisontimberreceiver.com. Oral argument was July 2, 2020 and a link to
the recording is available at madisontimberreceiver.com.

           Baker Donelson: Baker Donelson filed a motion to dismiss the amended complaint on
December 20, 2019, and I filed the Receivership Estate’s response on January 10, 2020. Those
filings are available at madisontimberreceiver.com.

           Alexander Seawright: The Alexander Seawright defendants also filed a motion to dismiss
the amended complaint on December 20, 2019, and I filed the Receivership Estate’s response on
January 10, 2020. Those filings are available at madisontimberreceiver.com.

           Jon Seawright: Seawright filed a Chapter 7 petition for bankruptcy on November 3, 2019.5
By filing his petition for bankruptcy, Seawright triggered an automatic stay of litigation against
him. The result is that I cannot litigate the Receivership Estate’s claims against Seawright while
his bankruptcy proceedings are pending.

           I have participated in Seawright’s bankruptcy proceedings in order to protect the
Receivership Estate’s interests. On February 7, 2020, I filed an adversary complaint that objects
to the discharge of Seawright’s debt to the Receivership Estate on the basis that the debt flows
from his false pretenses, false representations, and fraud.6 Seawright filed a motion to dismiss the
adversary complaint on April 30, 2020, and I filed the Receivership Estate’s response on May 28,
2020. Those filings are available at madisontimberreceiver.com.


           Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

           The complaint against BankPlus; BankPlus Wealth Management, LLC; Gee Gee Patridge,
Vice President and Chief Operations Officer of BankPlus; Stewart Patridge; Jason Cowgill; Martin
Murphree; Mutual of Omaha Insurance Company; and Mutual of Omaha Investor Services, Inc.,
filed March 20, 2019, alleges the financial institutions and their agents lent their influence, their
professional services, and even their customers to Madison Timber, establishing for it a de facto




5
    Doc. 1, In re: Jon Darrell Seawright, No. 19-bk-3921 (Bankr. S.D. Miss).
6
    Doc. 1, Alysson Mills v. Jon Darrell Seawright, No. 20-ap-11 (Bankr. S.D. Miss).
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DeSoto County headquarters within BankPlus’s Southaven, Mississippi branch office. None of the
defendants has settled with the Receivership Estate.

       Murphree and Stewart Patridge, former agents of BankPlus and Mutual of Omaha, filed
answers to the complaint. BankPlus; Gee Gee Patridge, Vice President and Chief Operations
Officer of BankPlus; Cowgill, a former manager of BankPlus’s Southaven, Mississippi branch;
and Mutual of Omaha all filed motions to dismiss the claims against them, which I opposed. The
answers, motions, and related filings are available at madisontimberreceiver.com.

       On March 20, 2020, the Court held a telephonic status conference during which it inquired
whether the legal issues raised by the defendants’ motions to dismiss are similar to the legal issues
raised by defendants in other of the Receivership Estate’s lawsuits. After, on March 31, 2020, the
Court entered an order “temporarily staying this case pending a ruling on the outstanding motions
in Mills v. Baker Donelson et al., No. 3:18-cv-866.”

       Murphree continues to do something no other defendant has done: attempt to voluntarily
repay the Receivership Estate without any guarantee of a release of any claims against him. I have
now received a total of five checks, each in the amount of $800.00, which I am holding solely as
an offset to Murphree’s monetary liability for the Receivership Estate’s claims against him.


       Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       The complaint against The UPS Store, Inc.; Herring Ventures, LLC d/b/a The UPS Store;
Austin Elsen; Tammie Elsen; Courtney Herring; Diane Lofton; Chandler Westover; Rawlings &
MacInnis, PA; Tammy Vinson; and Jeannie Chisholm, filed May 23, 2019 and amended June 13,
2019, alleges the defendants are the notaries and their employers on whom Lamar Adams
principally relied to notarize fake timber deeds. None of the defendants has settled with the
Receivership Estate.

       Herring Ventures, LLC d/b/a The UPS Store; Austin Elsen; Tammie Elsen; Courtney
Herring; Diane Lofton filed answers to the complaint. The UPS Store, Inc.; Rawlings & MacInnis,
PA; Tammy Vinson; and Jeannie Chisholm filed answers to the complaint after the Court denied
their motions to dismiss. The answers are available at madisontimberreceiver.com.


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        On December 13, 2019, I filed a motion for protective order that asks the Court to order
the defendants to treat victims’ names and identifying information as confidential. On July 6,
2020, the Court entered a protective order that permits me to designate information as confidential
and, if a defendant intends to use it in a public filing, move the court to redact or seal it.

        The parties are now exchanging discovery which, as the Court observed, “in a case about
notarization should not be overly complex.”7 The Court’s scheduling order set trial for December
6, 2021.


        Securities & Exchange Commission v. Kelly, et al., No. 3:19-cv-585

        On August 27, 2019, the Securities and Exchange Commission obtained a judgment against
Kelly permanently enjoining him from further violations of federal securities laws; disgorging his
ill-gotten gains, in an amount to be determined; and ordering that he pay civil penalties, in an
amount to be determined.8


        Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

        On December 30, 2019, I filed a complaint against Trustmark National Bank, Bennie Butts,
Jud Watkins, Southern Bancorp Bank, and RiverHills Bank—financial institutions and
professionals who provided banking services that enabled and sustained the Madison Timber Ponzi
scheme.

        Trustmark National Bank, Bennie Butts, Southern Bancorp Bank, and RiverHills Bank
filed motions to dismiss, and Jud Watkins filed a motion to compel arbitration, and I opposed all.
Those filings are available at madisontimberreceiver.com.


        Securities & Exchange Commission v. Billings, et al., No. 3:20-cv-50

        On March 3, 2020, the Securities and Exchange Commission obtained a judgment against
Mike Billings permanently enjoining him from further violations of federal securities laws;


7
 Doc. 49, Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364 (S.D. Miss).
8
 Docs. 5, 6, Securities and Exchange Commission v. Terry Wayne Kelly and Kelly Management, LLC, No. 3:19-cv-
585 (S.D. Miss.).
                                                                                                           8
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disgorging his ill-gotten gains, in an amount to be determined; and ordering that he pay civil
penalties, in an amount to be determined.9


        Alysson Mills v. Stuart Anderson, et al., No. 3:20-cv-427

        On June 25, 2020, I filed a complaint against Stuart Anderson, Randy Shell, and Shell
Investments, LLC. The complaint alleges the defendants identified new investors for Madison
Timber, and for each investment made by an investor he personally recruited, each defendant
received a cut of the investor’s payment to Madison Timber. Over time, the defendants received
more than $635,000 in Madison Timber “commissions.” The complaint is available at
madisontimberreceiver.com.


Receiver’s actions (past 60 days and next 60 days)


        Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679
        Related: In re William B. McHenry, Jr., No. 20-bk-268; No. 20-ap-22

        I have fought and will continue to fight any bankruptcy discharge of McHenry’s
$3,473,320 debt to the Receivership Estate on the basis, among others, that the debt flows from
his false pretenses, false representations, and fraud. On August 14, 2020, I obtained an order from
the bankruptcy court holding McHenry in contempt for failing to disclose documents pertaining to
his finances that I requested of him.


        Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866
        Related: In re Jon Darrell Seawright, No. 19-bk-3921; No. 20-ap-11; No. 20-cv-232

        I have litigated and will continue to litigate while awaiting the Court’s rulings on motions
to dismiss filed by Baker Donelson and Alexander Seawright and the Fifth Circuit’s decision in
Butler Snow’s appeal. Oral argument in Butler Snow’s appeal was July 2, 2020, and a link to the
recording is available at madisontimberreceiver.com.




9
 Doc. 1, Securities and Exchange Commission v. Michael Douglas Billings and MDB Group, LLC, No. 3:20-cv-50
(S.D. Miss.).
                                                                                                         9
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       I also have fought and will continue to fight any bankruptcy discharge of Seawright’s debt
to the Receivership Estate on the basis that the debt flows from his false pretenses, false
representations, and fraud. I await the Court’s ruling on Seawright’s motion to dismiss the
adversary complaint I filed against him.


       Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       I continue to await the Court’s rulings on the motions to dismiss filed by BankPlus; Gee
Gee Patridge, Vice President and Chief Operations Officer of BankPlus; Jason Cowgill; and
Mutual of Omaha. As noted above, the Court entered an order “temporarily staying this case
pending a ruling on the outstanding motions in Mills v. Baker Donelson et al., No. 3:18-cv-866.”


       Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       I have litigated and will continue to litigate the Receivership Estate’s claims against the
notaries and their employers on whom Lamar Adams principally relied to notarize fake timber
deeds. The parties currently are exchanging discovery.


       Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

       I await the Court’s rulings on the motions to dismiss filed by Trustmark National Bank,
Bennie Butts, Southern Bancorp Bank, and RiverHills Bank and the motion to compel arbitration
filed by Jud Watkins.


       Alysson Mills v. Stuart Anderson, et al., No. 3:20-cv-427

       I await Stuart Anderson’s, Randy Shell’s, and Shell Investments, LLC’s responses to the
complaint I filed against them on June 25, 2020.


       “Commissions,” gifts, and proceeds

       I have accounted and will continue to account for “commissions” paid by Adams, Madison
Timber, or Wayne Kelly to individuals in exchange for their assistance in recruiting new investors
to the Madison Timber Ponzi scheme and to account for gifts that Adams or Kelly made with
proceeds from Madison Timber. My practice has been to contact individuals who received
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“commissions,” gifts, or proceeds and offer to negotiate repayment, provided the individual agrees
to make complete financial disclosures. Most individuals have cooperated. On July 30, 2020, I
announced a proposed settlement of the Receivership Estate’s claims against Brad Pugh for the
return of the $183,002.66 in “commissions” that he received in exchange for his sales of Madison
Timber investments. The Court approved the settlement on August 3, 2020.


       Records

       To date I have reviewed records from Wayne Kelly, Mike Billings, Alexander Seawright,
Brent Alexander, Jon Seawright, First Bank of Clarksdale, Southern Bancorp, River Hills Bank,
Community Bank, Jefferson Bank, Trustmark Bank, BankPlus, Southern AgCredit, Adams’s and
Madison Timber’s accounting firm, Butler Snow, Rawlings & MacInnis, Madison Trust Company
(no relation to Madison Timber), Pinnacle Trust, and The UPS Store. I continue to request and
review additional records as necessary to assess the Receivership Estate’s rights against third
parties that had professional relationships with Adams or Madison Timber.


       LLCs of which Adams was a member

       Of the six active limited liability companies (“LLCs”) of which Adams was a member, the
Receivership Estate has already resolved its interests in 707, LLC; Delta Farm Land Investments,
LLC; KAPA Breeze, LLC; and Mallard Park, LLC. For the two remaining LLCs, my intent is to
monetize the Receivership Estate’s interest to maximize value to the Receivership Estate.

       Oxford Springs, LLC: The LLC’s principal asset is 2,300+/- acres of undeveloped land in
Lafayette County, Mississippi. Today the Receivership Estate owns a 100% interest in Oxford
Springs, debt-free, and will retain all proceeds from the future sale of the LLC’s property. After a
proposed sale failed late last year, I undertook several cost-effective improvements to maximize
the property’s value. I continue to market nationally the largest of the property’s two tracts. That
listing is available at https://www.outdoorproperties.com/listings/oxford-springs/.

       MASH Farms, LLC: The LLC’s principal asset is 808+ acres with a hunting camp in
Sunflower County, Mississippi. I obtained an appraisal of that property and had preliminary
negotiations with the LLC’s other members regarding the purchase of the Receivership Estate’s
25% interest. I will continue to consider a sale to the LLC’s other members but I will consider any
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offer by any party that I believe is fair, and I encourage interested parties to contact me directly
(504-586-5253).


       Federal and state authorities

       I continue to confer with federal and state authorities, including the FBI, the Securities and
Exchange Commission, the U.S. Attorney’s Office, the Mississippi Secretary of State’s Office,
and the Mississippi Department of Banking and Consumer Finance regarding matters bearing on
the Receivership Estate.


       Investors

       I continue to communicate with investors in Madison Timber via phone, letter, email, and
in-person meetings. I speak to investors almost daily. Investors provide information that is useful
to my investigation and, in turn, I hope that I demystify the receivership process for them.


       Persons with knowledge

       I continue to speak to persons with first-hand knowledge of matters bearing on the
Receivership Estate.


       Other third parties

       My colleagues and I continue to research legal claims against third parties as new facts are
discovered. I do not publish our assessments here because to do so would be to telegraph our legal
strategies to future defendants. I intend to file additional lawsuits against third parties that
contributed to the debts of Madison Timber, and therefore to the debts of the Receivership Estate,
so long as new information justifies it.




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Summary of status of assets

        My end goal is to make an equitable distribution to victims with the money I recover. As I
have advised, it may take a long time and a lot of work to recover enough money to make a
meaningful distribution, but I am committed to pursuing recoveries for the benefit of victims so
long as the Court allows. The Receivership Estate’s most valuable assets are the lawsuits it has
filed or intends to file.

        I have spoken with several victims who are hurting badly right now. The Receivership
Estate has more than $6.5 million in its account, and I have no interest in holding onto that money.
My only reason for not distributing it is I would like to have more to distribute, because the money
we currently have will not go far. I am eager to sell Oxford Springs or resolve one of the
Receivership Estate’s larger lawsuits, which may allow for a more meaningful distribution. I am
sympathetic to victims’ impatience and am open to the possibility of an interim distribution,
however small, if things do not pick up soon

        The current status of the Receivership Estate’s assets is as follows:


Receivership Estate’s account at Hancock Bank                          current balance $6,669,926.88
Previous balance as of June 26, 2020                  $6,475,431.22
Interest                                                 +$5,395.66
Martin Murphree’s voluntary repayments                   +$1,600.00
Settlement—Mike Billings                               +$187,500.00


Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866                        litigation ongoing
Lawsuit to hold law firms liable for debts of the Receivership
Estate

Alysson Mills v. BankPlus, et al., No. 3:19-cv-196                          litigation ongoing
Lawsuit to hold bank and financial services company liable for
debts of the Receivership Estate

Martin Murphree’s voluntary repayment of his debt to the                     holding $4,000
Receivership Estate, five installments of $800.00 each to date*

Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364                litigation ongoing
Lawsuit to hold notaries liable for debts of the Receivership Estate

Alysson Mills v. Trustmark, et al., No. 3:19-cv-941                          litigation ongoing
Lawsuit to hold banks liable for debts of the Receivership Estate
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Alysson Mills v. Stuart Anderson, et al., No. 3:20-cv-427                litigation ongoing
Lawsuit to recover commissions from recruiters

Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679
Lawsuit to recover commissions from recruiters
Judgment—Bill McHenry                                                  $3,473,320 judgment
                                                                           outstanding

Settlement—Mike Billings                                                received $325,000
                                                                        plus 5% interest in
                                                                       Oxford Springs, LLC
                                                                       received $187,500 in
                                                                  satisfaction of promissory note
                                                                      duty to restate taxes,
                                                                   with 90% of any refunds to
                                                                      Receivership Estate

Settlement—Wayne Kelly                                                received $1,384,435.17
                                                                  plus interests in 707, 315 Iona,
                                                                     and KAPA Breeze, LLCs
                                                                       received $100,000 in
                                                                  satisfaction of promissory note
                                                                      duty to restate taxes,
                                                                   with 90% of any refunds to
                                                                      Receivership Estate

Settlement—Brad Pugh                                             promissory note in the original
                                                                principal amount of $183,002.66
                                                                           outstanding

 1/4    Mash Farms, LLC                                                  assessing options
        808+ acres with hunting camp in Sunflower County
        Purchased in 2014 for $1,600,000
        Encumbered by Trustmark Bank mortgage
        Owe approximately $900,000

100% Oxford Springs, LLC                                                      for sale
     2,300+/- acres undeveloped land in Lafayette County
     Unencumbered

 1/6    707, LLC                                                   LLC sold principal asset and
        263+ acres recreational land in Holmes County             dissolved; tendered $6,994.09
        Purchased in 2009                                       representing Adams’s, Kelly’s, and
        Encumbered by First Commercial Bank mortgage                  McHenry’s interests to
        Owe approximately $368,000                                   the Receivership Estate



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 1/3    Delta Farm Land Investments, LLC                            LLC sold principal asset and
        1170+ acres farmland in Oktibbeha County                  dissolved; tendered $323,440.88
        Purchased in 2014 for $2,796,100                          representing Adams’s interest to
        Encumbered by Trustmark Bank mortgage                          the Receivership Estate
        Owe approximately $2,200,000

 1/2    KAPA Breeze LLC                                            sold the Receivership Estate’s
        1.5+/- acres mixed-use land on Highway 30A in Florida          interest for $700,000
        Purchased in 2017 for approximately $1,900,000
        Encumbered by Jefferson Bank mortgage
        Owe approximately $1,365,000

 1/4    Mallard Park, LLC                                          sold the Receivership Estate’s
        1,723 acres with hunting lodge in Humphreys County             interest for $175,000
        Purchased in 2016 for $2,593,500
        Encumbered by Southern AgCredit mortgage
        Owe approximately $2,000,000

Hartford Life and Annuity Insurance Co. life insurance policy       surrendered for $167,206.60

Lincoln National Life Insurance Co. life insurance policy            surrendered for $3,678.45

Settlement—Frank Zito                                                     received $100,000,
                                                                            first installment
                                                                     received $100,000, second
                                                                       and final installment,
                                                                           June 12, 2019

Settlement—Ole Miss Athletics Foundation                              received $155,084.50,
                                                                         first installment
                                                                      received $155,084.50,
                                                                   second and final installment,
                                                                          April 17, 2019

Marital Property Settlement—Vickie Lynn Adams                            received $58,247
Lump sum payment includes proceeds from sale of Lexus LX 570
and liquidation of Hartford Life and Annuity Insurance Co. life
insurance policy

Settlement—Adams children                                               received $170,000

Alexander Seawright—UPS’s funds*                                         holding $100,000

2018 King Ranch Ford F150 truck                                          sold for $42,750

Condo in Calton Hill subdivision in Oxford, Mississippi                received $139,919.09
Unencumbered                                                           in proceeds from sale

Settlement—Philippi Freedom Ministries                                   received $16,125

Settlement—Rick Hughes Evangelistic Ministries                          received $43,657.95
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Jewelry                                                                                for sale


House at 134 Saint Andrews Drive, Jackson, Mississippi                          received $350,777.38
Unencumbered                                                                    in proceeds from sale
                                                                                 received $3,277.45
                                                                            from sale of household goods
                                                                                   on consignment


Settlement—Century Club Charities                                                 received $56,944


Settlement—Berachah Church                                                       received $175,904


Settlement—R.B. Thieme, Jr.                                                    received $104,626.50


Settlement—Operation Grace World Missions                                         received $39,325


Returned proceeds—Techwood, LLC                                                  received $309,000


Strikethrough indicates asset has been liquidated or proceeds are already accounted for in the Hancock
Bank account balance.

*I am holding these funds solely as an offset to the defendant’s liability for the Receivership Estate’s
claims.




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